        Case 1:23-mc-00134-PGG           Document 46        Filed 08/14/24      Page 1 of 1
Evan Glassman
+1 212 506-3909 direct
eglassman@steptoe.com

1114 Avenue of the Americas
New York, NY 10036-7703
212 506 3900 main
www.steptoe.com




                                                     August 14, 2024

Via ECF
Hon. Paul G. Gardephe
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

         Re:      Cargill, Incorporated v. Public Joint Stock Company National Bank Trust,
                  Case No. 23-mc-00134-PGG

Dear Judge Gardephe:

       We represent Public Joint Stock Company National Bank Trust (“NBT”) in connection
with the above-referenced matter. We write in follow-up to our letters of December 6, 2023,
March 4, 2024 and April 15, 2024 (ECF Nos. 42, 43, and 44) regarding NBT’s January 10, 2023
application to take discovery pursuant to 28 USC § 1782 in support of foreign proceedings,
which are now pending in the British Virgin Islands (the “Application” and the “BVI
Proceedings”).

       For background purposes, this Court originally granted NBT’s Application on April 18,
2023 (ECF No. 11). Cargill, Incorporated, Louis Dreyfus Company Suisse SA, Louis Dreyfus
Company Asia PTE Ltd., Louis Dreyfus Company Trading & Service Co. SA (collectively, the
“Movants”) subsequently lodged various objections to the Application, and those motions have
been fully briefed since July 13, 2023.

        Since we last updated the Court in April (ECF No. 44), the BVI Proceedings have been in
active litigation, and the BVI Court has been made aware of the proceedings before this Court by
lawyers acting for the Movants (who are contesting jurisdiction in the BVI Proceedings). For the
reasons set forth in NBT’s Application, the discovery sought in this District is required to assist
NBT’s efforts to prosecute the case against the Movants in the BVI Proceedings. Please let us
know if any additional information would be helpful to the Court’s resolution of the motions.

         We are grateful for your continued consideration and courtesies in this matter.

                                                  Respectfully submitted,

                                                  /s/ Evan Glassman
                                                  Evan Glassman
cc: Counsel of Record
